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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

Enovate Medical, LLC

               Plaintiff

      v.                                              Civil Action No. 1:18-10296-RGS

Definitive Technology Group, LLC

               Defendant

                           ORDER OF ADMINISTRATIVE CLOSURE

                                     March 28, 2019

STEARNS, D.J.

      In accordance with the Court’s Electronic Order [Dkt # 57] granting defendant’s

   Motion to Stay, it is ORDERED that the above-entitled action be, and hereby is,

   administratively closed pending the stay.



                                                            By the Court,

                                                            /s/ Arnold Pacho
                                                            Deputy Clerk
